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Plaintiff, *
vs. * Criminal No. 04-20080-D An
JlMlvllE J. KEssNER, *
Defendant. *

 

PREL|M|NARY ORDER OF FORFE|TURE

 

|n lndictment Number 04-20080-D An, the United States sought forfeiture of specific
property of defendant Jimmie J. Kessner, pursuant to 18 U.S.C. § 2252. On Deoember1,
2004, the defendant, Jimmie J. Kessner, entered a plea of guilty to Counts 1 thru 2 and the
forfeiture in Count 6 of the indictment
According|y, it is ORDERED:

1. Based upon the defendant’s guilty plea to Counts 1 thru 2 and the forfeiture
in Count 6 of the indictment Number 04-20080-D An, the United States is authorized to
seize the following property belonging to defendant Jimmie J. Kessner, and his interest in
it is hereby forfeited to the United States for disposition in accordance with the |aw, subject
to the provisions of21 U.S.C. §853(n) and Rule 32(d)(2) of the Federal Rules of Criminal
Procedure:

a. Any visual depiction described in Section 2252 of Tit|e 18 United
States Code, and any book, magazine, periodical, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or

This document entered on the docket Sheet ln compliance
with Rule 55 anal/or 32{b) FRCrP on ' '

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received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross
profits or other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit
or to promote the commission of the above said offenses, including but not limited to the
following:

1) One (1) Compaq Presario Desktop
Computer 5000, s/n 2hocjccsk02b;

2) Five (5) CD Roms;
3) Ten (10) floppydiscs.

A|| pursuant to Title 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States Marshal in his
secure custody, or, as may be necessary, the Attorney General may appoint a substitute
custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States Marshal shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
Shelby County, Tennessee, notice of this order, notice of the United States’ intent to
dispose of the property in such manner as the Attorney Genera| or his delegate may direct,
and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.
This notice shall state that the petition shall be for a hearing to adjudicate the validity of the

petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty

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of perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner’s claim
and the relief sought. The United States lVlarsha| or his delegate may use the attached
Legal Notice.

The United States may also, to the extent practicable, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
notified.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. |f no third party files a timely claim, this Order shall become the Final Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(0)(2).

6. The United States shall have clear title to the Subject Property following the
Court’s disposition of all third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(c), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

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E N|CE . ONALD

United States District Judge
PRESENTED BY:

TERRELL L. HARR|S
United States Attorney

577/7500

|STOPHER E. COTTEN
l_|sistant United States Attorney

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|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
WESTERN D|V|S|ON

 

UN|TED STATES OF AMERICA, *
Plaintiff, *
vs. * Criminal No. 04-20080-D An
JllVll\/llE J. KESSNER, *
Defendant. *
LEGAL NOT|CE

 

Take notice that on@_‘_é.~¢;_g$,_gmhe United States District Court for the

Western Districtof Tennessee, Western Division, entered a Preliminary Order of Forfeiture
ordering that all right, title and interest of the defendant Jimmie J. Kessner in the following
property be forfeited to the United States to be disposed of in accordance with law:

a. Any visual depiction described in Section 2252 of Title 18 United States
Code, and any book, magazine, periodical, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit or to
promote the commission of the above said offenses, including but not limited to the

following:

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1) One (1) Compaq Presario Desktop
Computer 5000, s/n 2hocjccsk02b;

2) Five (5) CD Roms;

3) Ten (10) floppy discs.

All pursuant to Title 181 United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney
General or his delegate may direct. Any person, other than the defendant, having or
claiming a legal interest in the above-listed forfeited property must file a petition with the
Court within thirty (30) days of the final publication of this notice or of receipt of actual
notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of
the petitioner’s alleged interest in the property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, title, or
interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and relief sought.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20080 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

